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  The U.S. Equal Employment Opportunity Commission


  EEOC NOTICE
  Number 915.002
  Date 4/10/97


  1. SUBJECT: Enforcement Guidance on non-waivable employee rights under
  Equal Employment Opportunity Commission (EEOC) enforced statutes.

  2. PURPOSE: This enforcement guidance sets forth the EEOC's position
  that an employer may not interfere with the protected right of employees
  to file a charge or participate in any manner in an investigation,
  hearing, or proceeding under the laws enforced by EEOC.1

  3.     EFFECTIVE DATE:            Upon issuance.

  4. EXPIRATION DATE: As an exception to EEOC Order 205.001, Appendix B,
  Attachment 4, Section a(5), this Notice will remain in effect until
  rescinded or superseded.

  5.     ORIGINATOR:          ADEA Division, Office of Legal Counsel.

  6. INSTRUCTIONS: File after the last Enforcement Guidance in the 800
  series of Volume II of the EEOC Compliance Manual.

  7.     SUBJECT MATTER:

  I.     General Statement

       An employer may not interfere with the protected right of an employee
  to file a charge, testify, assist, or participate in any manner in an
  investigation, hearing, or proceeding under Title VII of the Civil Rights
  Act of 1964 (Title VII), 42 U.S.C. � 2000e et seq., the Americans with
  Disabilities Act (ADA), 42 U.S.C. � 12101 et seq., the Age Discrimination
  in Employment Act (ADEA), 29 U.S.C. � 621 et seq., or the Equal Pay Act
  (EPA), 29 U.S.C. � 206(d). These employee rights are non-waivable under
  the federal civil rights laws.

       This position is built on two cornerstones: (a) interference with
  these protected rights is contrary to public policy; and (b) the
  anti-retaliation provisions of the civil rights statutes prohibit such
  conduct.2


            II.   Background

       Some employers attempt to limit an individual's right to file a
  charge or participate in an EEOC proceeding by requiring him or her to
  sign an agreement in which s/he relinquishes these statutory rights. Such
  language may appear in contracts requiring the use of alternative dispute
  resolution procedures (such as mediation or arbitration), waiver
  agreements,3 employee handbooks, employee benefits plans, and
  "non-compete" agreements. Notwithstanding the format or context of the
  agreement in which such language might appear, promises not to file a
  charge or participate in an EEOC proceeding are null and void as a matter
  of public policy. Agreements extracting such promises from employees may
  also amount to separate and discrete violations of the anti-retaliation
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  provisions of the civil rights statutes.
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            III.    Analysis

            A. Public Policy. EEOC acts to vindicate the public interest
  in the eradication of employment discrimination. "[T]he EEOC is not
  merely a proxy for the victims of discrimination .... Although [it] can
  secure specific relief, such as hiring or reinstatement ..., on behalf of
  discrimination victims, the agency is guided by 'the overriding public
  interest in equal employment opportunity ... asserted through direct
  Federal enforcement.'" General Telephone Co. v. EEOC, 446 U.S. 318, 326
  (1980) (quoting 118 Cong. Rec. 4941 (1972)). A strong public policy
  prohibits interference with governmental law enforcement activities.
  Agreements that prevent employees from cooperating with EEOC during
  enforcement proceedings interfere with enforcement activities because they
  deprive the Commission of important testimony and evidence needed to
  determine whether a violation has occurred. Furthermore, insofar as such
  agreements make it more difficult for the Commission to prosecute past
  violations, an atmosphere is created that tends to foster future
  violations of the law. See Brooklyn Savings Bank v. O'Neil, 324 U.S. 697,
  710 (1945); EEOC v. Astra USA, Inc., 94 F.3d, 738, 742 (1st Cir. 1996).

       In EEOC v. Astra USA, Inc., the employer obtained settlement
  agreements from a number of employees which, inter alia, prohibited them
  from assisting the Commission in investigating any sexual harassment
  charges against the employer. The district court granted the Commission's
  request for a preliminary injunction prohibiting Astra from entering into
  or enforcing the provisions of the settlement agreements barring employees
  from assisting the Commission during the investigation of any charges. 94
  F.3d at 742.

       The First Circuit affirmed the injunction. Invoking important public
  policy concerns, the court pointed out that Congress "entrusted the
  Commission with significant enforcement responsibilities in respect to
  Title VII." EEOC v. Astra USA, 94 F.3d at 744. It cited EEOC v. Shell
  Oil Co., 466 U.S. 54, 69 (1984), for the bedrock principle that the
  Commission's ability to investigate charges of systemic discrimination
  must not be impaired. Turning to the agreements in controversy, the court
  concluded that "clearly, if victims of or witnesses to [employment
  discrimination] are unable to approach the EEOC or even to answer its
  questions, the investigatory powers that Congress conferred would be
  sharply curtailed and the efficacy of investigations would be severely
  hampered .... The EEOC acts not only on behalf of private parties but
  also 'to vindicate the public interest in preventing employment
  discrimination.'" Id., citing General Telephone Co. v. EEOC, 446 U.S. at
  326. The First Circuit reasoned that "[p]ublic policy ... clearly favors
  the free flow of information between victims of [employment
  discrimination] and the agency entrusted with righting the wrongs
  inflicted upon them." 94 F.3d at 745. Thus, "any agreement that
  materially interferes with communication between an employee and the
  Commission sows the seeds of harm to the public interest." Id. at 744.
  See also EEOC v. U.S. Steel Corp., 671 F. Supp. 351, 357-59 (W.D. Pa.
  1987) (invalidating as contrary to public policy retirement plan provision
  that conditioned higher benefits on retiree's promise not to assist in
  EEOC investigations).

       A strong public policy interest also prohibits interference with the
  right to file a charge with EEOC.4 The primary purpose of a charge of
  discrimination filed with EEOC is to "place the EEOC on notice that
  someone ... believes that an employer has violated [one of the

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  anti-discrimination statutes]." EEOC v. Shell Oil Co., 466 U.S. at 68;
  see also EEOC v. Cosmair, Inc., 821 F.2d 1085, 1089 (5th Cir.
  1987)(primary purpose of a charge under ADEA "is not to seek recovery from
  the employer but rather to inform the EEOC of possible discrimination").
  This notice to the EEOC serves to trigger law enforcement proceedings by
  the EEOC that include an investigation and, if there is a finding of
  discrimination, may include conciliation and litigation. Thus, every
  charge filed with the EEOC carries two potential claims for relief: the
  charging party's claim for individual relief, and the EEOC's claim "to
  vindicate the public interest in preventing employment discrimination."
  General Telephone Co. v. EEOC, 446 U.S. at 326.


       Courts have consistently recognized that individuals possess a
  non-waivable right to file charges with the EEOC. See Gilmer v.
  Interstate/Johnson Lane Corp., 500 U.S. 20, 28 (1991)(individual who signs
  an agreement to submit an employment discrimination claim to arbitration
  remains free to file a charge with EEOC); EEOC v. Cosmair, Inc., 821 F.2d
  at 1090 (invalidating former employee's promise not to file a charge with
  EEOC because it "could impede EEOC enforcement of the civil rights laws"
  and is void as against public policy); EEOC v. U.S. Steel Corp., 671 F.
  Supp. at 357-59 (invalidating as contrary to public policy retirement plan
  provision that conditioned higher benefits on retiree's promise not to
  file charges with EEOC).

       Congress reaffirmed the public policy against interference with EEOC
  enforcement efforts, including the right to file a charge, by including
  the following explicit language in the waiver provisions of the Older
  Workers Benefit Protection Act of 1990 (OWBPA), amending the ADEA: "No
  waiver may be used to justify interfering with the protected right of an
  employee to file a charge or participate in an investigation or proceeding
  conducted by the Commission." 29 U.S.C. � 626(f)(4) (ADEA). The
  legislative history states that this statutory provision is intended "as a
  clear statement of support for the principle that the elimination of age
  discrimination in the workplace is a matter of public as well as private
  interest." Moreover, "[n]o waiver agreement may be permitted to interfere
  with the achievement of that goal. This position is consistent with the
  holding and reasoning of EEOC v. Cosmair, Inc., 821 F.2d 1085 (5th Cir.
  1987)." S. Rep. No. 263, 101st Cong., 2d Session 35; Legislative History
  of OWBPA, Part 1 p.354. See also EEOC v. Johnson & Higgins, Inc., 91 F.3d
  1529 (2d Cir. 1996) (In light of the strong public interest in eradicating
  age discrimination, EEOC authority to enforce the ADEA cannot be altered
  by a waiver of the rights of a private party). These principles apply
  equally to all of the statutes enforced by the EEOC.


            B. Prohibitions Against Retaliation. Congress enacted
  provisions barring retaliation in each of the statutes enforced by the
  Commission in large part to ensure that employees remain free to report
  suspected violations to the government. See Veprinsky v. Fluor Daniel,
  Inc., 87 F.3d 881, 889 (7th Cir. 1996) ("Given the instrumental role
  individual employees play in the statutory scheme, the protection of those
  individuals from retaliatory acts by the employer 'is essential to
  accomplish the purpose of Title VII.'") (quoting EEOC v. Pacific Press
  Pub. Ass=n, 676 F.2d 1272, 1281 (9th Cir. 1982)); Garcia v. Lawn, 805 F.2d
  1400, 1405 (9th Cir. 1986) (retaliation "is likely to cause irreparable
  harm to the public interest in enforcing the law by deterring others from
  filing charges"). Cf. NLRB v. Scrivener, 405 U.S. 117, 121-22 (1972) ("
  'Congress has made it clear that it wishes all persons with information
  about [unlawful practices] to be completely free from coercion against

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  reporting them to the [government.]' ... This complete freedom is
  necessary ... 'to prevent the [government's] channels of information from
  being dried up by employer intimidation of prospective complainants and
  witnesses.'") (construing anti-retaliation provisions of the National
  Labor Relations Act).

       Agreements that attempt to bar individuals from filing a charge or
  assisting in a Commission investigation run afoul of the anti-retaliation
  provisions because they impose a penalty upon those who are entitled to
  engage in protected activity under one or more of the statutes enforced by
  the Commission. By their very existence, such agreements have a chilling
  effect on the willingness and ability of individuals to come forward with
  information that may be of critical import to the Commission as it seeks
  to advance the public interest in the elimination of unlawful employment
  discrimination. See, e.g., EEOC v. Board of Governors, 957 F.2d 424 (7th
  Cir.), cert. denied, 506 U.S. 906 (1992) (unlawful retaliation for a
  collective bargaining agreement to allow the termination of an
  administrative grievance proceeding upon the filing of a charge with
  EEOC); EEOC v. Cosmair, Inc., 821 F.2d at 1089 (impermissible retaliation
  arises when payments to which one is otherwise entitled are stopped merely
  because a charge is filed with EEOC); EEOC v. U.S. Steel Corp., 671
  F.Supp. at 358 (retaliation under �4 (d) of the ADEA results when an
  employer revokes enhanced pension benefits for persons who file charges or
  otherwise participate in EEOC proceedings)5. Cf. Connecticut Light &
  Power v. Secretary of Labor, 85 F.3d 89 (2d Cir. 1996) (construing the
  anti-retaliation provisions of the Energy Reorganization Act of 1974 and
  finding a violation where an agreement sought to prevent an individual
  from reporting unlawful conduct to the government).

           C. The Commission=s Position is Consistent with the Public
  Interest in the Voluntary Settlement of Employment Discrimination
  Disputes. The Commission supports efforts by employers and employees to
  resolve employment discrimination disputes voluntarily. In particular, on
  April 25, 1995, the Commission announced that it "supports efforts by
  employers to develop voluntary internal ADR programs to address workplace
  discrimination disputes, because the interests of employers and employees
  will be served by the development of fair, credible, internal ADR programs
  that resolve discrimination disputes satisfactorily."6 Nothing in this
  enforcement guidance diminishes Commission support for post-dispute
  agreements entered into knowingly and voluntarily to settle claims of
  discrimination or utilize alternative dispute resolution mechanisms. Nor
  does the guidance create any Asubstantial disincentive to settlement.@ See
  EEOC v. Astra USA, 94 F.3d at 744.

          In this regard, the Commission notes that even though an
  individual who has signed a waiver agreement or otherwise settled a claim
  subsequently files a charge with the Commission based on the same claim,
  the employer will be shielded against any further recovery by the charging
  party provided the waiver agreement or settlement is valid under
  applicable law. This is true whether the EEOC or the private individual
  brings a subsequent action. See EEOC v. Astra USA, Inc., 94 F.3d at 744
  (injunction prohibiting covenants preventing employees from assisting EEOC
  does nothing at all to promote further litigation between Astra and the
  settling employees or to disturb the finality of the negotiated
  settlement); EEOC v. Cosmair, Inc., 821 F. 2d at 1091 (although an
  employee cannot waive the right to file a charge with EEOC, he can waive
  the right to recover in his own lawsuit as well as the right to recover in
  a lawsuit brought by the EEOC on his behalf); EEOC v. U.S. Steel Corp,
  671 F. Supp. at 358 (where provision in a waiver agreement preventing
  employees from assisting EEOC is enjoined, employer may still assert the

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  waiver as a bar to recovery on a claim of age discrimination brought by or
  on behalf of an individual who signed a valid waiver involving that
  claim).

       However, while a private agreement can eliminate an individual's
  right to personal recovery, it cannot interfere with EEOC=s right to
  enforce Title VII, the EPA, the ADA, or the ADEA by seeking relief that
  will benefit the public and any victims of an employer's unlawful
  practices who have not validly waived their claims. See EEOC v. Harris
  Chernin, Inc., 10 F.3d 1286, 1291-92 (7th Cir. 1993); EEOC v. United
  Parcel Serv., 860 F.2d 372, 374 (10th Cir. 1988); EEOC v. Goodyear
  Aerospace Corp., 813 F.2d 1539, 1542-43 (9th Cir. 1987); New Orleans S.S.
  Ass'n v. EEOC, 680 F.2d 23, 25 (5th Cir. 1982); EEOC v. McLean Trucking
  Co., 525 F.2d 1007, 1010 (6th Cir. 1975). Enforcement actions for the
  purpose of advancing the public interest in the elimination of employment
  discrimination are squarely within the EEOC's authority "to vindicate
  rights belonging to the United States as sovereign." Goodyear Aerospace
  Corp., 813 F.2d at 1543 (citation omitted).

            IV. Conclusion

       For the reasons set forth and discussed above, an employer may not
  interfere with an individual=s protected right under Title VII, the EPA,
  the ADA, or the ADEA to file a charge, testify, assist, or participate in
  any manner in an EEOC investigation, hearing, or proceeding.

            V.   Charge Processing Instructions

            1. Investigators should take and process charges in conformity
  with priority charge processing procedures regardless whether the charging
  party has signed a waiver of his or her right to file a charge.

            2. If a charging party has been required to relinquish his or
  her right to file a charge or participate in a commission investigation,
  hearing, or proceeding, a cause determination should be issued.


       4-11-97                                      /s/
  _______________                              ____________________________________
  Date                                         Gilbert F. Casellas
                                               Chairman


  1. Although the enforcement guidance addresses this issue primarily in
  the context of the private sector, the principles and considerations
  discussed herein are equally applicable to the federal sector.

  2.     Title VII, for example, provides that:

  it shall be an unlawful employment practice for an employer to
  discriminate against any of his employees or applicants for employment,
  for an employment agency, or joint labor-management committee controlling
  apprenticeship or other training or retraining, including on-the-job
  training programs, to discriminate against any individual, or for a labor
  organization to discriminate against any member thereof or applicant for
  membership, because he has opposed any practice made an unlawful
  employment practice by this title, or because he has made a charge,
  testified, assisted, or participated in any manner in an investigation,
  proceeding, or hearing under this title.


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  42 U.S.C. � 2000e-3. In Robinson v. Shell Oil Company, 117 S. Ct. 843
  (1997), the Supreme Court held that this section extends protection to
  former employees. Comparable anti-retaliation provisions appear at 29
  U.S.C. � 623 (d) (ADEA); 29 U.S.C. � 215 (a) (3) (EPA); and 42 U.S.C. �
  12203 (a) and (b) (ADA).

  3. "Waiver agreement" refers to the type of agreement described in
  section 7(f) of the ADEA (permitting knowing and voluntary waiver of an
  individual=s right to recovery under the Act). 29 U.S.C. � 626(f).
  Although the ADEA is the only EEOC-enforced statute containing specific
  language authorizing the use of knowing and voluntary waiver agreements,
  such agreements are widely used with respect to rights protected under
  other statutes enforced by the Commission.

  4. The Commission relies on charges not only as its principal source of
  information regarding unlawful conduct, but also, in the case of Title VII
  and the ADA, as a statutory prerequisite for its investigations and
  proceedings. 42 U.S.C. � 2000e-5(b); 42 U.S.C. � 12117(a) (ADA section
  incorporating Title VII procedures). Under the ADEA and EPA, the
  Commission is empowered to investigate without a charge. 29 U.S.C. �
  626(a) (ADEA) and 29 U.S.C. � 211 of the Fair Labor Standards Act (FLSA).

  5. A longstanding Commission interpretive regulation under the ADEA
  provides that "[c]lauses in employee benefit plans which state that
  litigation or participation in any manner in a formal proceeding by an
  employee will result in the forfeiture of his rights are unlawful insofar
  as they may be applied to those who seek redress under the Act. This is
  by reason of section 4 (d) which provides that it is unlawful for an
  employer ... to discriminate against any individual because such
  individual 'has made a charge, testified, assisted, or participated in any
  manner in an investigation, proceeding, or litigation under this Act.'"
  29 C.F.R. � 1625.10(d)(5).

  6.     See Daily Lab. Rep. (BNA), No. 80 (April 26, 1995).



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